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 8                      UNITED STATES DISTRICT COURT
 9                    NORTHERN DISTRICT OF CALIFORNIA
10   SHAWN ESPARZA, on behalf of            Case No.: 17-cv-3421-WHA
11
     herself, and all others similarly
     situated,
12                                          CLASS ACTION
13                     Plaintiff,
14                                          [PROPOSED] JUDGMENT IN A
                 v.                         CIVIL ACTION
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     SMARTPAY LEASING, INC.,
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                 Defendant.
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                           Esparza v. SmartPay Leasing, Inc., No. 17-CV-3421-WHA
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 1         This matter came before the Court on January 16, 2020 for final approval of
 2   the settlement. Full and adequate notice having been given to the Class as required
 3   in the Court’s Order Granting Preliminary Approval of Class Settlement dated
 4   September 12, 2019 (Dkt. No. 104), and the Court having considered all papers filed
 5   and proceedings had herein and otherwise being fully informed in the premises and
 6   good cause appearing therefore, IT IS HEREBY ORDERED, ADJUDGED AND
 7   DECREED THAT:
 8         1.     This Court has jurisdiction over the subject matter of the litigation and
 9   over all parties to the litigation, including all Class members.
10         2.     The Court finds that the distribution of the Notice complied with the
11   terms of the Settlement Agreement and the prior Order of the Court and provided
12   the best notice practicable under the circumstances of those proceedings and of the
13   matter set forth therein, including the proposed settlement, to all Persons entitled to
14   such notice, and said notice fully satisfied the requirement of Federal Rule of Civil
15   Procedure 23; due process; and any other applicable law.
16         3.     In light of the benefits to the Class members, the complexity, expense,
17   and possible duration of further litigation against Defendant, the risk of establishing
18   liability and damages, the risks and costs of continued litigation, and other reasons
19   set forth in the Plaintiff’s Motion for Final Approval, the Court hereby approves the
20   settlement set forth in the Settlement Agreement pursuant to Federal Rule of Civil
21   Procedure 23 and finds that:
22                a. The Settlement Agreement and settlement contained therein, are, in
23                   all respects, fair, reasonable, and adequate and in the best interest of
24                   the Class members;
25                b. There was no collusion between or among the Parties in reaching
26                   the agreement set forth in the Settlement Agreement;
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 1                c. The Settlement Agreement was the product of informed, arm’s-
 2                    length negotiations among competent, able counsel and with the
 3                    assistance of the Honorable Leo S. Papas of Judicate West; and
 4                d. The record is sufficiently developed and complete to have enabled
 5                    the Parties to have adequately evaluated and considered their
 6                    positions.
 7   Accordingly, the Court authorizes and direct implementation and performance of all
 8   the terms and provisions of the Settlement Agreement, as well as the terms and
 9   provisions hereof.
10         4.     Upon the Declarations of Scott M. Fenwick of Heffler Claims Group
11   (Dkt. Nos. 106-2 & 107-1), the Court finds that the settlement notice provided to the
12   Class members was the best notice practicable under the circumstances and it
13   satisfied the requirements of due process and Federal Rule of Civil Procedure
14   23(e)(1).
15         5.     The Court finds that the distribution by mail and email and publication
16   of the Notice on the Settlement website (in English and Spanish) to Class members;
17   (i) constituted the best notice practicable under the circumstances; (ii) was
18   reasonably calculated, under the circumstances, to apprise Class members of the
19   settlement, the effect of the settlement (including the releases therein), and their right
20   to object to the terms of the settlement and appear at the Final Approval Hearing;
21   (iii) constituted due and sufficient notice of the settlement to all reasonably
22   identifiable persons entitled to receive such notice; and (iv) satisfied the
23   requirements of due process, Federal Rule of Civil Procedure 23(e)(1) and the Class
24   Action Fairness Act of 2005, 28 U.S.C. § 1715, and all applicable laws and rules.
25         6.     Upon the Declaration of Scott M. Fenwick of Heffler Claims Group,
26   the court finds that the settlement notice has been given to the appropriate State and
27   Federal officials in accordance with the Class Action Fairness Act, 28 U.S.C. § 1715.
28         7.     No members of the Class filed objections to the settlement.

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 1         8.     One-hundred and three (103) members of the Class are excluded from
 2   the Class. These 103 persons, identified on Exhibit A, are individuals to whom
 3   notice could not be successfully effectuated. (Dkt. No. 108).
 4         9.     After due consideration of, among other things, the benefits to the Class
 5   members and the uncertainty about the likelihood of: (a) the Class’s ultimate success
 6   on the merits; (b) the range of the Class’s possible recovery; (c) the complexity,
 7   expense, and duration of the litigation; (d) the substance and amount of opposition
 8   to the settlement; (e) the state of proceedings at the time the settlement was achieved;
 9   and (f) all written submissions, declarations and arguments of counsel; and after
10   notice and hearing, this Court finds that the settlement is fair, adequate and
11   reasonable, and in the best interests of the Class. This Court also finds that the
12   financial terms fall within the range of settlement terms that would be considered
13   fair, adequate and reasonable.      Accordingly, this settlement should be and is
14   APPROVED and shall be consummated in accordance with the terms and provisions
15   of the Settlement Agreement and shall govern all issues regarding the settlement and
16   all rights of the parties, including the Class members. Each Class member shall be
17   bound by the Settlement Agreement, including being subject to the Releases set forth
18   in the Settlement Agreement.
19         10.    Defendant has agreed to pay the total of $8,679,000.00 to pay Class
20   members, class action settlement administration costs, attorney’s fees, costs, and a
21   service award to Plaintiff as determined and awarded by this Court. Funds remaining
22   from any uncashed checks shall be retained by the Settlement Administrator and
23   redistributed to the other Class members on a pro rata basis or, if not economically
24   feasible to redistribute, paid to CTIA, the cy pres beneficiary, pursuant to an order
25   of this Court.
26         11.    As agreed in and subject to the Settlement Agreement, each member of
27   the Class will be mailed a check in the amount of $375.00, subject to a pro rata
28   reduction for the payment of incentive award, attorneys’ fees and costs, and

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 1   administrative costs. The Settlement Administrator will cause those checks to be
 2   mailed after receiving the settlement funds. Checks issued to the Class members will
 3   be void 180 days after issuance.
 4         12.    The Court expressly adopts and incorporates herein all of the terms of
 5   the Settlement Agreement. The Parties to the Settlement Agreement shall carry out
 6   their respective obligations under that Agreement.
 7         13.    Upon payment of all monies due pursuant to the Settlement Agreement,
 8   all claims or causes of action of any kind by any Class member or anyone claiming
 9   by or through him, her, or it brought in this Court or any other forum (other than
10   those by persons excluded from the Class) are forever barred pursuant to the
11   Releases set forth in the Settlement Agreement and the Court’s Final Approval Order
12   and incorporated herein. All persons are enjoined from asserting any claims that are
13   being settled or released herein, either directly or indirectly, against Defendant and
14   the Released Parties in this Court or any other court or forum.
15         14.    Notwithstanding Paragraph 13 above, nothing herein shall bar any
16   action by the Parties to enforce or effectuate the settlement.
17         15.    The Settlement Agreement may not be construed, in whole or in part,
18   as an admission of fault or liability to any person by any of the Released Parties, nor
19   shall the Settlement Agreement, or any part thereof, be offered or received in
20   evidence in any action or proceeding as an admission of liability or wrongdoing of
21   any kind by any of the Released Parties, except that nothing in this Paragraph shall
22   affect the admissibility of the Settlement Agreement, or any of its terms, in any
23   action or proceeding to effectuate the terms of this settlement.
24         16.    A separate order shall be entered regarding Class Counsel’s petition for
25   attorney’s fees and costs and for Plaintiff’s service award. Such orders shall not
26   disturb or affect any of the terms of this Order.
27         17.    This action, including all claims against Defendant concerning the text
28   messages Defendant sent using its vendor Twilio, Inc.’s platform from September

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 1   29, 2015 to June 13, 2017, after Class members texted the word “STOP”, is hereby
 2   dismissed with prejudice and without taxable costs to any party.
 3         18.   The provisions of this Judgment constitute a full and complete
 4   adjudication of the matters considered and adjudged herein, and the Court directs
 5   immediate entry of this Judgment by the Clerk of the Court.
 6         19.   The Court sets a deadline for a status report on the accounting of the
 7   monies distributed to the Class and to determine how the remaining funds are to be
 8   distributed on September 17, 2020.
 9
10   IT IS SO ORDERED.                     ENTERED:
11
12            January 28, 2020.
     DATED: _____________                  ___________________________
                                           Honorable Williams Alsup
13                                         United States District Court Judge
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 1              EXHIBIT A – EXCLUDED CLASS MEMBERS
 2   Count   First Name    Last Name
 3       1   LINDA         AGUILERA
         2   ELIDO         ALVAREZ
 4
         3   CORRINE       ANDRADE
 5       4   JOSE          ARDON
 6       5   ANDREA        BALDWIN
         6   ANA           BALLESTEROS
 7
         7   VICTORIA      BLANCHARD
 8       8   CHARLES       BUTTREY
 9       9   DANIEL        CARROLL
        10   ANGEL         CORTEZ
10      11   LOGAN         COX
11      12   RYAN          DENHAM
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        13   HENRY         DEVAUDREUIL
        14   PAMELA        DEWITT
13      15   NISHA         DOMENECH
14      16   GORDON        ENNESS
        17   ROBERT        ERVIN
15
        18   DEBORAH       EVANS
16      19   STEPHEN       FITZSIMMONS
17      20   IVAN          GARCIA
        21   JAMERIA       GARNER
18      22   YISMARAI      GONZALEZ
19      23   SHERRY        GRANT
20
        24   KATHLEEN      GRIFFITH
        25   CHESLEY       HARRIS
21      26   RAASHADAH     HARRIS
22      27   CHRISTIAN     HERRERA
        28   CHARISSA      HISSONG
23
        29   JAMES         HOLLAND
24      30   JOHN          HORN
25      31   LARRY         HURS
        32   DAVID         IRELAN
26
        33   COURTNEY      JACKSON
27      34   BARBARA       JAMES
28      35   FELIX         JEAN
        36   LYNELL        JOHN
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 1   37   JAYLYN        JOHNSON
     38   LALESHIA      JOHNSON
 2   39   STEPHANIE     JOHNSON
 3   40   TAMARA        JOHNSON
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     41   VINCENT       JOHNSON
     42   UNIQUIA       JONES
 5   43   LISA          KENT
 6   44   BRENDA        KULOWITI
     45   DANIEL        LATDRIK
 7
     46   KAREN         LAVIOLETTE
 8   47   SHANE         LEGENDRE
 9   48   ANTOINETTE    LEON
     49   CELICA        LOPEZ
10   50   NANCY         LOPEZ
11   51   ARTURO        MAGANDA
12
     52   JESSICA       MARCANO
     53   RAYMOND       MARSHALLECK
13   54   DANIELLE      MARTIN
14   55   ROSALIE       MARTIN
     56   LUCIA         MARTINEZ
15
     57   BRYAN         MASON
16   58   EDUARDO       MEDRANO
17   59   KENNY         MINOR
     60   ANTHONY       MITCHELL
18
     61   COLTON        MURPHY
19   62   KEVIN         MUSGROVE
20   63   VALERIE       NAVOLIO
     64   SHANE         NEWMAN
21   65   FREDDIE       OCA
22   66   KRISTEN       PATTERSON
     67   JAMES         PAUL
23
     68   DAWN          PEGUES
24   69   ALFREDO       PIERRE
25   70   YULVONDA      PITTMAN
     71   JENNIFER      QUINTANA
26
     72   LUNA          RADILLA
27   73   SHEILING      RAMIREZ
28   74   STEPHAN       RICH
     75   VICTOR        RIOJAS
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 1    76   DIANE         ROBERTS
      77   ERICA         ROBLES
 2    78   FREDY         RODRIGUEZ
 3    79   VAN           ROJAS
 4
      80   RODNEY        RUIZ
      81   FERNANDO      SANCHEZ
 5    82   YAHIR         SANCHEZ
 6    83   BEN           SCOTT
      84   KARAMON       SCOTT
 7
      85   GLORIA        SHEPHERD
 8    86   BERNARD       SMITH
 9    87   CHARIETY      SMITH
      88   PAUL          SNYDER
10    89   BOBBY         STEPHENS
11    90   VLADIMIR      SUAREZ
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      91   MARC          SUPPA
      92   CHARMAINE     TUCKER
13    93   JODY          TUCKER
14    94   NEIL          VALERA
      95   DEAN          VASILE
15
      96   JENNIFER      VOLKENANT
16    97   AUSTIN        WARD
17    98   JUSTIN        WATSON
      99   SHIRLEY       WEBB
18
     100   QUENISHA      WELDON
19   101   GEORGE        WISTER
20   102   ALTAGRACIA    ZAPATA
     103   ROSEMARY      ZUBIA
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